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13
                            UNITED STATES DISTRICT COURT
14
                          SOUTHERN DISTRICT OF CALIFORNIA
15

16    AMP United, LLC,                           Case No.: '22CV1647 BEN AHG
17                 Plaintiff,
18    v.                                         COMPLAINT IN ADMIRALTY
19    Pacific Ship Repair &
      Fabrication, Inc.,
20
                   Defendant.
21

22

23         NOW COMES Plaintiff, AMP United, LLC (hereinafter, “Plaintiff” or “AMP
24   United”) by counsel, and as and for its Complaint against Defendant, Pacific Ship
25   Repair & Fabrication, Inc. (hereinafter, “Defendant” or “Pac Ship”), states as follows:
26                                NATURE OF THE CASE
27         1.    This is an admiralty and maritime claim, within the meaning of Fed. R.
28   Civ. P. 9(h), and is within the admiralty jurisdiction of this court pursuant to 28

                                                1
1    U.S.C.A. § 1333, for breach of a maritime contract to repair a ship and for damages.
2                                JURISDICTION AND VENUE
3         2.       This court has subject matter jurisdiction over the current breach of
4    contract action pursuant to Article III, Section 2, of the United States Constitution
5    (U.S. Const. Art. III, § 2), 28 U.S.C.A. § 1333, and Rule 9(h) of the Federal Rules of
6    Civil Procedure (Fed. R. Civ. P. 9(h)), given that the claims described more fully
7    below include the Defendant’s breach of marine ship repair contracts, which are
8    maritime contracts subject to this Court’s admiralty jurisdiction.
9         3.       This Court has personal jurisdiction over the Defendant, given that the
10   above-mentioned Defendant has sufficient contacts within this Judicial District to
11   avail itself to this Court's general jurisdiction, and performance of the subject
12   maritime contract as described more fully below became due within the State of
13   California.
14        4.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
15   the Defendant’s principal office is in this District, and a substantial part of the acts and
16   omissions giving rise to this lawsuit occurred within this District.
17                                        THE PARTIES
18        5.       Plaintiff, Amp United, LLC, is a limited liability company existing under
19   the laws of the State of New Hampshire with its principal place of business located at
20   50 Sheffield Drive, Suite 104, Dover, New Hampshire.
21        6.       Upon information and belief, Defendant, Pacific Ship Repair &
22   Fabrication, Inc., is a corporation existing under the laws of the State of California
23   with its principal place of business located at 1625 Rigel Street, San Diego,
24   California.
25                                 STATEMENT OF FACTS
26        7.       Between April 2021 and August 2021, Plaintiff and Defendant entered
27   into a series of agreements for Plaintiff to perform certain ship repair services aboard
28   USS RUSHMORE (LSD-47), PO 106331S (hereinafter and collectively referred to as

                                                  2
1    the “Contracts”).
2         8.      Plaintiff properly completed the work associated with these Contracts
3    and submitted invoices at the appropriate contractual intervals but has yet to be paid
4    by the Defendant.
5         9.      The total amount currently due and owing from Defendant for the ship
6    repair services performed by Plaintiff pursuant to the terms of the parties’ contracts is
7    $68,234.00, all of which remains outstanding and unpaid.
8         10.     On or about March 2, 2022, Plaintiff sent Defendant a letter notifying the
9    defendant that Plaintiff had completed all work associated with the Contracts for
10   which it remained unpaid and requested that Defendant provide written notification
11   and a payment commitment within 15 days. A copy of the Letter is attached hereto as
12   EXHIBIT A and incorporated herein by reference.
13        11.     Plaintiffs March 2, 2022 letter referenced Pacific Ship Repair and
14   Fabrication Inc.’s Purchase Order General Terms and Conditions, Rev. May 2018
15   (hereinafter, the “Agreement”), which sets forth the terms and conditions and payment
16   intervals for the work/services rendered thereunder. A copy of the Agreement is
17   attached hereto as EXHIBIT B and incorporated herein by reference.
18        12.     Plaintiff received no response nor was the requested 15-day payment
19   commitment honored by the Defendant.
20        13.     On or about August 5, 2022, Plaintiff sent another Statement to
21   Defendant for payment in connection with its completion of the repair contracts
22   aboard USS RUSHMORE. A copy of the Statement is attached hereto as EXHIBIT C
23   and incorporated herein by reference.
24        14.     As the exhibited correspondence and accompanying Statement provide,
25   there are a total of four invoices previously billed that Defendant has not paid: (1)
26   Invoice #1111-1 was due September 2, 2021, in the amount of $17,058.50, and
27   remains unpaid; (2) Invoice #1111-2 was due September 15, 2021, in the amount of
28   $22,601.00, and remains unpaid; (3) Invoice #1111-3 was due October 7, 2021, in the

                                                3
1    amount of $26,271.30, and remains unpaid; (4) Invoice #1111-4 was due October 27,
2    2021, in the amount of $2,303.20, and remains unpaid.
3           15.   In spite of Plaintiff's above-mentioned claim and invoices to Defendant,
4    as of the date of filing this Complaint, Plaintiff has received no payment from
5    Defendant or from any of their agents with respect to the above-mentioned ship repair
6    services reflected in the Statement of past invoiced work attached as EXHIBIT C.
7                                           COUNT I
8          BREACH OF MARITIME CONTRACT FOR SHIP REPAIR SERVICES
9           16.   Plaintiff repeats, realleges, and incorporates herein Paragraphs 1 through
10   15 of this complaint as if the same were fully set forth herein.
11          17.   Plaintiff has performed all the conditions, covenants, promises, and
12   agreements required under the terms of its ship repair Contracts with the Defendant.
13          18.   Defendant has failed and refused, and continues to fail and refuse, to
14   perform its part of the contract or to tender such performance insofar as the aforesaid
15   invoices for services rendered by Plaintiff remain unpaid and are long overdue.
16          19.   Because of Defendant's failure to perform its obligations under the
17   contract, Plaintiff has been damaged in the sum of $68,234.00, no part of which has
18   been paid.
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

                                                 4
EXHIBIT A
   A
                                                                                       AMP UNITED, LLC
                                                                        50 SHEFFIELD DRIVE, SUITE 104
 �                                                                                      DOVER, NH 03820
 UNITED



March 2, 2022

David Bain
Pacific Ship Repair and Fabrication, Inc.
1625 Rigel St
San Diego, CA 921 13

Mr, Bain:

AMP Uniled, LLC has completed the work associated with Contracts: USS John P, Murtha (DDG-26),
Pacship PO 106 l 87S, and USS Rushmore (LSD-47), Pacship PO 106331 S, Please see the attached USS
Murtha and USS Rushmore signed COC documents, Enclosures 1 & 2, along with the associated Seller
invoices, Enclosures 3 & 4, Since the date that these documents were originally submitted, besides
yourself� we have directly contacted Alan Herrmann and your Contracts Team. No payment has been
received as of March 2, 2022,

As required in Pacific Ship Repair and Fabrication, Inc,, Purchase Order General Terms and Conditions,
Rev May 2018, paragraph 5, the Seller is now presenting in this letter a written inconsistency that has
been encountered between the Seller and the Buyer due to the lack of response by the Buyer in provided
the properly requested payment for work/services render under our current contract purchase orders as
noted in the paragraph above, In accordance with Paragraph 19, of the Purchase Order General Terms
and Conditions, Rev May 20 I 8, the Seller, and the Buyer agreed to 30-day payment terms, following
final completion of work, submission ofa proper invoice by Seller, and signoff/acceptance indicated by a
completed Buyer FORM "Certificate of Completion", As you can see by the dates noted on Enclosures 1
through 4, the terms of payment have been exceeded and the Buyer is currently in breach of contract to
the Seller,

Please provide us written notification with payment commitment within 15 days, It is our intention to
provide Pac Ship the opportunity to mitigate this minor contract oversight before it becomes a legal issue
for both Buyer and Seller alike,

Thank you in advance for your attention in getting this issue resolved in a timely manner,




Managing Partner
AMP United, LLC




          • SHIP REPAIR • PRESERVATION • SCAFFOLD • STRUCTURAL • NON SKID • INTERIOR DECKING•




                                                                                                        Ex A 001
EXHIBIT B
         Pacific Ship Repair & Fabrication, Inc.

                     Purchase Order
              General Terms and Conditions

                                Rev. May 2018




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                         Pacific Ship Repair & Fabrication, Inc.
                     Purchase Order General Terms and Conditions



1.      Acceptance/Entire Agreement
These terms and conditions, together with any Special Terms and Conditions or addendum
attached hereto or referenced on the Purchase Order, the Purchase Order, and any
Representations and Certifications made by Seller, constitute the entire agreement between
Buyer and Seller, merge and supersede all communications, written or oral, prior to or
contemporaneous with any Order, and shall not be subject to variation irrespective of any
wording in Seller's offer or acceptance. Any additional or different terms or conditions which
may appear in any communication from Seller are hereby expressly objected to and shall not be
effective or binding unless specifically agreed to by the Buyer in supplemental contract form.
Any Order becomes a binding contract when accepted by Seller, either by acknowledgment or
commencement of performance. Seller shall include the substance of these provisions (Entire
Agreement) in all subcontracts Seller places in support of the Order.

2.      Definitions
The following definitions apply unless otherwise specifically stated:

Article - A Service or item of the Order

Buyer - Pacific Ship Repair & Fabrication, Inc. (also referred to as "PACSHIP" or "PSRF").

Contracting Officer - The Government Contracting Officer for the Prime Contract or authorized
representative.

DFARS - The Department of Defense FAR Supplement

FAR - The Federal Acquisition Regulations

Government - The Government of the United States, including its Federal
Agencies

Order - A written order signed by the Buyer's Agent, the Purchase Order.

Prime Contractor - The holder of the Government contract under which an Order is issued

Seller - The legal entity which contracts with the Buyer to provide goods or services (the
Articles)


3.      Headings
The descriptive headings contained in this Order are for convenience or reference only and in
no way define, limit or describe the scope or intent of this Order.


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                                                                                         Ex B 005
4.       Obligations under the Prime Contract
If the face of an Order includes identification of a prime contract, the goods or services (or
both) ordered are procured in furtherance of Buyer's performance of Buyer's prime contract
with its customer. If an Order includes identification of a prime contract, drawings or
specifications, or both, such references are intended to reflect the requirements of Buyer's
prime contract or Buyers Subcontract under its customers Prime Contract with the
government, and it shall be the responsibility of Seller to assure that it is familiar with and
strictly complies with all prime contract requirements applicable to the goods, services, or
both, covered by such Order. Upon request, Buyer will provide copies of applicable plans,
specifications, and general requirements of the prime contract.

5.        Order of Precedence
     a) In the event of any inconsistency between any parts of this Order, the inconsistency
         shall be resolved by giving precedence in the following order:
         i)        The Order and any modifications or changes thereto exclusive of items
             (ii) through (vi).
        ii)        Any FAR and DFARS clauses (and any other regulations referenced therein)
             or other special provisions to these General Provisions (also referred to as terms
             and conditions) as invoked in this Order.
        iii)       These General Provisions and any other regulations referenced therein.
        iv)        Statement of Work.
        v)         Specification/Drawing.
        vi)        Other documents referenced in this Order.
     b) Seller shall immediately bring any inconsistencies to the attention of Buyer in writing,
        and any inconsistencies in or among any of the foregoing shall not be the basis for any
        defense of a breach of contract claim brought by Buyer against Seller for Seller's failure
        to perform under this Order, nor shall any such inconsistencies be the basis for any
        claim of any kind by Seller against Buyer unless Seller has first timely brought such
        inconsistencies to Buyer's attention and Buyer has failed to resolve such
        inconsistencies.

6.      Performance and Delivery
It is agreed that time is of the essence in performance of any Order incorporating these terms
and conditions. Commencement and completion of work or delivery of the goods ordered shall
be strictly in accordance with the schedule/date set forth on the face of the Order, or, if no
schedule/date is there set forth, in accordance with the requirements of Buyer's prime
contract. When requested by Buyer, Seller shall submit to Buyer, in the form acceptable to
Buyer, a detailed schedule for performance of the Order, which schedule will comply with all
schedule requirements of Buyer's prime contract, within three (3) days of Buyers request. If
the Order requires shipboard work, Seller shall, at no additional cost to Buyer, coordinate its
work with that being performed by Buyer, Buyer's customer, or other subcontractors of Buyer
or Buyer's customer.

Seller shall furnish personnel, supervision, equipment, and materials sufficient to complete the
Order within the defined schedule. If Seller falls behind schedule or if it otherwise appears that
Seller will not complete the tasking or deliver goods within the schedule required, the Buyer
may, in accordance with Clause 45 (Termination for Default) hereof, terminate Seller's right to
proceed with the task or with such part of any task as is behind schedule, or may require Seller,
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at Seller's expense, to increase its personnel or shifts, to use overtime, to use expedited
shipping means, or to take such other measures as may be necessary to meet or recover
schedule. Seller agrees to notify Buyer immediately if, at any time, it appears that the delivery
schedule set forth herein may not be met. Such notifications shall include the reasons for any
possible delays, steps being taken to remedy any such problems and a proposed revised
delivery date.

Seller shall, at their own expense, provide workers with proper credentials for access to Naval
Facilities and other BUYER customer shipyards. This includes pier access passes.
Seller shall, within three (3) days of Order completion, remove all Seller responsible equipment,
material, scrap, salvage, excess, and hazardous materials, from the ship, wharf, pier, and Buyers
customers' facilities. If not removed in the time specified herein, Buyer may remove Seller
responsible items and store them until Seller retrieves them. Seller shall be responsible for
Buyers cost of removal and storage.

7.      Labor Disputes
Whenever an actual or potential labor dispute delays or threatens to delay Seller's performance
of this Order, the Seller shall immediately give notice thereof to Buyer. Such notice shall be
confirmed in writing and shall contain all information relevant to the dispute. Seller agrees to
include this paragraph in all subcontracts or purchase orders issued by Seller in connection with
this Order.

8.      Title
Unless otherwise stated in the Order, title to Supplies covered by the Order shall pass from the
Seller to Buyer at the F.O.B. point.

9.      Packing and Shipping
The Articles shall be packed and shipped by Seller in accordance with Buyer's instructions and
good commercial practice so as to ensure that no damage shall result from handling, weather,
or transportation. If Articles are tendered to a common carrier for delivery, packing also shall
conform to packing requirements applicable to such carrier. The cost of such packing and
shipping shall not be allowed unless included in the price of the Articles. Evidence of shipment
of goods must be forwarded to Buyer immediately after shipment. A certificate stating that all
required tests have been performed and that all Articles conform to drawings and specifications
shall be supplied separately for each partial or complete shipment of each Article. Unless
otherwise stated, all deliveries and prices are F.O.B. Buyer's facility and all sales, excise, or
other taxes applicable to the Articles are included in the Order price.

10.     Warranty
Seller warrants that all work and materials furnished hereunder will be free from defects in
materials and workmanship and will conform to applicable specifications, drawings, samples
and descriptions, and if Seller's design or selection, will be free from design defects and fit for
intended use. Except as otherwise expressly provided, the foregoing warranties shall be in
effect for a period of 90 days that shall commence immediately following the completion of
 Buyer's contract or the redelivery of the vessel by Buyer, or the date of final acceptance by the
government, whichever occurs first, provided, however, if the equipment, materials, or
workmanship provided hereunder is incomplete at the time of completion of the contract or
redelivery of the vessel, the above guarantee shall not commence until said equipment,

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materials, or workmanship is completed. Completion includes delivery to Buyer, and
acceptance by Buyer's Prime Contract Customer, of required reports and objective quality
evidence. If any time during said period, non-conformity in equipment, materials or
workmanship furnished by Seller is discovered, such non-conforming equipment, material, or
workmanship shall be made good, at Seller's expense, to the requirements of this contract and
the plans and specifications. All warranties shall run to Buyer and Buyer's customers.

11.     Infringement Indemnity
Seller shall indemnify and hold harmless Buyer, its successors, assigns, customers, and users, to
the extent such customers and users are indemnified by the Buyer, for the full extent of any
loss, expense, cost, damage, or liability from any claimed infringement of any United States
patent, trademark, copyright, or any claimed unauthorized use of data or proprietary rights
with respect to the Articles, except those manufactured to Buyer's detailed design or
manufacture differ from Seller's normal practice. Seller shall defend same at its expense,
provided that Buyer notified Seller of such claimed infringement.

12.     Compliance with Laws
Seller shall comply with all Federal, State, and local laws, Naval Base Instructions, Notices and
Directives, executive regulations, and orders.

The Seller shall be responsible for obtaining any necessary license and permits applicable to the
performance of work.

Seller shall produce the Articles in compliance with all requirements of the Fair Labor Standards
Act.

Seller shall comply with Executive Order 13496, 29 CFR 471- NOTIFICATION OF EMPLOYEE
RIGHTS UNDER FEDERAL LABOR LAWS, 29 CFR Part 471, Appendix A to Subpart A.

Seller covenants to hold Buyer and its assignees harmless from any and all costs, damages and
expenses (including reasonable attorney's fees) incurred by Buyer and its assignees arising out
of or as a result of any failure of Seller to comply with any such laws and regulations.

13.     Governing Law
The parties agree that irrespective of the place of performance of this Order, the Order shall be
construed and interpreted according to Federal Common Law and Federal Contract Law as
enunciated and applied by the Federal courts, boards of contract appeals and other
administrative and quasi-judicial bodies of the Federal Government. To the extent the Federal
Common Law and Federal Contract Law is not determinative, the laws (both substantive and
procedural) of the State of California in effect at the time of the execution of this Order shall
apply as the same would be applied to transactions between residents of the State of California
to be fully performed within the State of California and without regard to the State's conflict of
laws principles. Any action by either party against the other shall be brought before any court in
the State of California having competent jurisdiction.

14.    Foreign Corrupt Practices Prohibition
       (a)     By accepting this Order, Seller certifies and represents that it has not made or
       solicited and will not make or solicit any offer, payment, promise to pay, or
       authorization to pay any money, gift, or anything of value to any governmental official

Purchase Order General Terms and Conditions, Rev May 2018
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       or any political party, party official or candidate, either directly or through an
       intermediary, corruptly for the purpose of influencing any official act, omission, or
       exercise of influence by the recipient, to assist Buyer or Seller in obtaining or retaining
       business.
       (b)    Seller shall ensure that all lower tier subcontracts include this paragraph.

15.    Export Control Compliance
       (a)     Seller shall comply with the Arms Export Control Act (22 U.S.C. 2778), the
       International Traffic In Arms Regulations (ITAR) (22 CFR Parts 120 to 130), the
       regulations issued by the Office of Foreign Assets Control (OFAC) (31 CFR Chapter V),
       and all other applicable laws, regulations and orders which control the imports and
       exports of defense articles, defense services, and technical data.
               (1)     The Vessel and the Contract Products are deemed to be "defense
                       articles" under the ITAR. This Contract may require Seller to furnish
                       "defense services" and/or export "technical data" as defined in the ITAR.

               (2)    Seller represents and warrants that, if it manufactures or exports defense
                      articles or furnishes defense services, it is registered with the Office of
                      Defense Trade Controls (OTC), Bureau of Political-Military Affairs,
                      Department of State.

               (3)    Technical data and defense services furnished by Buyer to Seller are
                      authorized for use only by Seller and may not be exported or re-exported
                      without a license or other approval from OTC.

               ( 4)   If Seller desires to authorize Buyer to export technical data directly to, or
                      furnish defense services to, a sub-tier supplier that is a foreign person,
                      Seller shall include Buyer as a third party signatory on any export license
                      or other approval prior to Buyer's exporting technical data to, or
                      furnishing a defense service to, any such foreign person sub-tier supplier.

              (S)     Seller shall provide to Buyer, within three (3) days of the request, all
                      licenses or other approvals obtained by Seller in compliance with the
                      above requirements, redacted if Seller desires to prevent the disclosure
                      of any proprietary data.

      (b)     If Seller is not organized to do business in the United States, Seller nevertheless
              shall perform this Contract in compliance with the laws, regulations and terms
              set forth in subparagraph (a) hereof, specifically including, but not limited to,
              those provision regarding the re-export of defense articles, defense services and
              technical data. Seller shall execute any documents required by Buyer in order
              for Buyer to lawfully export defense articles, defense services or technical data,
              or furnish defense services, to Seller in the performance of this Contract.

16.    Insurance Requirements for Subcontractors (SELLER and their subcontractors)
       (A) Without limiting the indemnity obligations or liabilities of SELLER or its insurer(s)
       under the Order, at any and all times during the term of the Order, SELLER shall at
       SELLER's expense maintain, with an insurance company or companies authorized to do
Purchase Order General Terms and Conditions, Rev May 2018
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      business in the location where the Order is to be performed, insurance coverage's of the
      kind and in the minimum amounts set forth below and in a form and with such insurers
      acceptable to BUYER. All such policies shall be "occurrence" as opposed to "claims
      made" policies unless agreed to in writing by the BUYER. The limits specified shall be
      minimum limits only and additional insured's shall be entitled to the full limits of all
      policies actually obtained. The limits of such policies shall in no way limit the indemnity
      or other obligations of SELLER under the Order unless required by applicable law.
      Failure to maintain insurance shall give BUYER the right to immediately terminate the
      Order without prior notice to SELLER. SELLER shall be solely liable for and shall assume
      the costs of any deductible amounts of self-insured retentions and any liability of SELLER
      in excess of the insurance maintained. In the event any liabilities of SELLER are not
      covered by the insurance specified herein SELLER shall be deemed to be self-insured to
      that extent.

      The insurance that SELLER is required to maintain is as follows:

             (1) Comprehensive General Liability (CGL)
                    Minimum limits: $2,000,000 CGL
                    Must include contractors liability, products/completed operations and
                    bodily injury of at least $1,000,000 per occurrence

             (2) Automobile Liability
                    Minimum combined bodily injury and property damage: $1,000,000 per
                    occurrence. (Not required if not driving a vehicle at any of our job sites)

             (3) Workers Compensation and Longshoremen's and Harbor Workers
                 Compensation Insurance
                    Insurance with limits of liability conforming to the statutory requirements
                    of the United States of America and any state where the work is being
                    performed by Subcontractor's employees. (US Longshoremen's and
                    Harbor Workers (USL&H) Coverage not required if employees will not go
                    aboard vessels, piers, wharfs or docks.) (Workers Compensation
                    Insurance is not required if there are no employees other than owners.)

             (4) Excess Liability
                     If required to meet the above minimum limits

             (S) Jones Act Coverage
                     If Seller's employees, subcontractors or suppliers are required to go to
                    sea aboard a Vessel, Seller shall maintain Jones Act coverage with
                    minimum limits of liability of $2,000,000 per occurrence and $2,000,000
                    in the aggregate.

             (6) Defense Base Act Coverage
                    If Seller's employees, subcontractors or suppliers are required under this
                    Contract to perform any work related to any U.S. Government contract
                    outside of the United States, Seller shall maintain Defense Base Act

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                      coverage with minimum limits conforming to the statutory requirements
                      of the United States.
      (B) SELLER hereby waives subrogation and, prior to commencing work under the Order
      for BUYER, shall obtain from its insurers full waivers of subrogation (whether direct,
      indirect, equitable, by loan receipt or otherwise) against BUYER, its contractors and
      subcontractors (excluding SELLER) and its customers, their respective vessels, joint
      ventures', co-lessees, partners, parents, subsidiaries, affiliates, and interrelated
      companies and their respective officers, directors, agents, employees, and
      representatives,, - the contractors, subcontractors, vendors, and suppliers of any of
      the foregoing (all of the foregoing herein after referred to as the "BUYER Group") in all
      of the insurance policies set forth in this Clause and all insurance carried by SELLER
      protecting against loss of or damage to its property and equipment employed in the
      performance of the Order. As used in these Terms and Conditions, the term "affiliate"
      means any entity, which controls, is controlled by, or is under common control with
      another entity or which entity does or is required by applicable laws or accounting rules
      to consolidate its financial statements for financial reporting purposes with such other
      entity. An entity is deemed to control another if it owns directly or indirectly at least
      fifty percent (50%) of (i) the shares entitled to vote at a general election of directors of
      such other entity, or (ii) the voting interest in such other entity if such other entity does
      not have either shares or directors.

      (C) Further, the BUYER Group shall be named as additional insured's in all insurance
      policies carried by SELLER, other than the Worker's Compensation and Employers'
      Liability Insurances. All such policies shall insure the BUYER Group as additional
      insured's for any liabilities assumed by SELLER hereunder, including those under Clause
      17 (Indemnity) of these Terms and Conditions. All such policies shall be endorsed to
      provide that they are primary to any coverage's maintained or available to such
      additional insured's, regardless of any "excess" or "other insurance" clauses therein. All
      such policies shall be endorsed to provide that additional insured's shall not be liable for
      premiums, commissions, or calls, and that BUYER shall be given thirty (30) days prior
      written notice of any cancellation, non-renewal, or material modifications of such
      policies.

      (D) All such insurances will provide for contractual liability coverage to fully cover the
      indemnity obligations of SELLER assumed in this Agreement. All such policies shall have
      navigation or territorial limits adequate for the engagement contemplated herein. All
      such policies shall be satisfactory in form and substance to BUYER, and shall not contain
      additional exclusions or deletions which adversely affect the coverage afforded by the
      policies in favor of the additional insured's required hereunder. All such policies shall be
      endorsed to provide that employees of one insured shall be treated as members of the
      public as to all other insured's.

     (E) In the event SELLER seeks to be a self-insurer and BUYER has consented to SELLER
     being a self-insurer as to any one or more of the risks as to which coverage is herein
     required, evidence of such consent must be in writing and approved by a representative
     of BUYER authorized to enter into such consent agreement.



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          (F) SELLER shall require all of its contractors and subcontractors to obtain and maintain
          in full force and effect all of the insurances with coverage's and limits required
          hereunder, to name as additional insured's with full waiver of subrogation on all such
          policies the BUYER Group, and to certify such coverage's to BUYER. Any failure of
          contractors and subcontractors to comply with this requirement and any deficiencies in
          coverage's or limits of such policies shall be the sole responsibility of SELLER.

          (G) The failure of SELLER, its underwriters or brokers to have in place and maintain the
          insurance coverage's provided for herein shall constitute a breach of contract for which
          SELLER shall be liable in damages to BUYER for all losses, expenses, claims or judgments
          that otherwise would have been covered under the required policies. The BUYER shall
          also be entitled to recover reasonable attorneys' fees and costs associated with any
          claim against SELLER, its underwriters, or brokers seeking indemnity, insurance
          coverage, and/or damages for breach of contract.

          (H) Seller or Sellers insurance broker or insurer shall immediately notify buyer in the
          event that notice of cancellation is issued for any reason prior to the expiration date of
          any policy subject to this Clause.
      •   Please have copies of the required Certificates and applicable Policy Endorsements
          emailed or faxed to the party requesting it. In addition, please arrange to have hard
          copies of Certificates and Policy Endorsements mailed directly to:

                     Pacific Ship Repair & Fabrication, Inc.
                     Contracts Department, Insurance
                     1625 Rigel Street
                     San Diego, CA 92113-3808

17.       Indemnity
          Seller shall defend, indemnify, save and hold Buyer, its directors, officers, agents and
          employees, free and harmless from and against all claims, adjudications, demands,
          causes of action, damages and liabilities of any nature, and all costs and expenses
          incurred in connection therewith (including, but not limited to, attorneys' fees) for (i)
          death or injury to any person or persons (including, but not limited to, agents and
          employees of Seller and its Suppliers and damages characterized as special, direct,
          consequential, loss of consortium, or future earnings); (ii) joint employer liability for
          Seller's employees, Suppliers or agents (to the extent permitted by law); (iii) damage or
          loss of any property (including, but not limited to, loss of use, lost profits, or diminution
          in value) arising directly or indirectly out of or in connection with Seller's performance of
          the Contract, (iv) claims by Seller, Seller's employees or its Suppliers and their
          employees for wages, benefits and other compensation and claims for resulting
          penalties; and claims by governmental agencies or others for taxes or contributions
          allegedly due by reason of Seller or its Suppliers performing the Contract Work; (v) acts
          or omissions under the Contract; and (vi) infringement of any third party intellectual
          property rights, in all including, without limitation, claims, demands, actions, damages
          and liabilities based in whole or in part on the negligence or other theory of liability of
          Seller or its Suppliers, and excluding only claims and liabilities based on Buyer's sole
          gross negligence or willful misconduct. Buyer has the sole right to designate the
          attorney or law firm that will defend and represent it in or relating to any suit, claim, or
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        action that is subject to indemnification, including without limitation any indemnity
        provision in the Contract. This provision survives termination of the Contract and is not
        subject to the Limitation of Liability Clause. Buyer may assign its right to be indemnified
        hereunder.


18.      Indemnification- Government Requirements
Buyer will not accept, store or dispose of any toxic substances or hazardous material except as
and to the extent, if at all, expressly provided for in this Order. In particular, paints, primers, or
coatings on products required by this Order that contain the following constituents shall not be
shipped without prior written approval by Buyer: arsenic, mercury, methylene chloride, methyl
ethyl ketone (MEK), lead, and chromium, their compounds, or organo-metallic material.
Materials known or suspected of containing or coming in contact with asbestos,
polychlorinated biphenyls (PCBs), or mercury or mercury containing compounds shall not be
provided without Buyer's prior written permission. If invoked specifications and standards
permit other materials in lieu of these materials, they shall be used.

19.      Invoices, Payment and Taxes
Payments terms are NET 30 days following final completion of work, submission of a proper
invoice by Seller, and signoff/acceptance indicated by a completed Buyer FORM "Certificate of
Completion". Progress payments may be authorized, upon agreement of Buyer. The 30 day
clock starts as of the invoice date or Contract Administrator signature date indicated on the
"Certificate of Completion" form, whichever is later. Final Invoices shall be submitted to Buyer
within 30 Days of completion of each Order.

Prices include all Federal, State, and local taxes, duties, tariffs, and similar fees imposed by the
government. Only those taxes, duties, tariffs, and similar fees specifically identified in Sellers
proposal in response to Buyer's RFP/RFQ will be paid.

20.     Setoff and Withholding
Buyer may set-off any amount due from Seller, whether or not under the Order, against any
amount due Seller hereunder. Buyer may withhold from payment to Seller an amount
sufficient to reimburse Buyer for any loss, damage, expense, cost, or liability relating to Seller's
alleged or actual failure to comply with any requirements of the Order.

21.     Non-Assignment
Buyer shall not be bound by any assignment until after receipt of written notice from Seller.
Seller shall not assign or delegate the Order or any right, duty, or interest therein, including any
payment due or to become due with respect thereto, without Buyer's prior written consent.
Payment to an assignee shall be subject to setoff or withholding for all present or future claims
which Buyer has against Seller, unless such claims are expressly waived in writing.

22.     Liens
Seller shall promptly pay when due all charges incurred in connection with the Order and shall
indemnify BUYER against any lien or claim arising out of non-payment of such charges. BUYER
may require, prior to making payment to Seller, that Seller provide releases or satisfactory
evidence of its payment of all such charges.


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23.     Non-waiver
No waiver of any provision or failure to perform any provision of the Order shall be effective
unless agreed to by an authorized agent of the Buyer in writing nor shall any such waiver
constitute a waiver of any other provision or failure to perform.

24.     Customer Property
Seller shall be strictly accountable for any property of Buyer or Buyer's customer that comes
into the control of Seller during the performance of any Order including, but not limited to, any
material removed from a customer's ship, and specifically including, but not limited to, any oils
or fuels removed from tanks. Seller shall control, protect, preserve, and maintain records of all
such property in conformance with the requirements of FAR Subpart 45.5.

25.      Buyer-Furnished Property
Seller shall not use, reproduce, appropriate, or disclose to anyone other than Buyer any
material, technical information, and other property or data furnished by Buyer, nor shall Seller
use the same to produce or manufacture articles other than those required hereunder without
prior written authorization from Buyer. Title to such Buyer-furnished property shall be and
remain in Buyer at all times. Seller shall bear the risk of loss, damage, or destruction of the
property furnished by Buyer and shall promptly replace or repair without expense to Buyer any
property which is lost, damaged, or destroyed, unless such loss, damage, or destruction is
solely, directly, and proximately caused by Buyer's negligence. All Buyer-furnished property,
together with spoiled and surplus materials, shall be returned to Buyer at termination or
completion of this Order unless Buyer shall direct otherwise in writing.

26.    Suspect/Counterfeit Parts
       A.    "Suspect/counterfeit parts" are parts that may be of new manufacture, but are
             misleadingly labeled to provide the impression they are of a different class or
              quality or from a different source than is actually the case. The term
              "suspect/counterfeit parts" also includes refurbished parts, with or without false
             labeling, that are represented as new parts or any parts that are designated as
             suspect by the U.S. Government, including but not limited to parts listed in alerts
             published by the Defense Contract Management Agency under the Government­
             Industry Data Exchange Program (GIDEP).

       B.     Seller will ensure that suspect/counterfeit parts are not incorporated into any
              Articles of the Order. The intentional or unintentional use, incorporation, or
              delivery of suspect/counterfeit parts is strictly prohibited. This includes a
              suspect/counterfeit part's being provided either as an end item deliverable or as
              a component or sub-component of an end item deliverable under this Order.

       C.     Seller represents and warrants that it has policies and procedures in place to
              ensure that none of the Products furnished to Buyer under this Order are or
              contain "suspect/counterfeit parts." Seller further certifies, to the best of its
              knowledge and belief that no "suspect/counterfeit parts" have been or will be
              furnished to Buyer by Seller under this Order.

       D.     If Seller becomes aware or suspects that it has furnished
              suspect/counterfeit parts or if Buyer determines, including as a result of alerts
              from the U.S. Government, that Seller has supplied suspect/counterfeit parts to
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                    Buyer and so notifies Seller, Seller shall immediately replace the
                    suspect/counterfeit parts with parts acceptable to Buyer and conforming to the
                    requirements of this Order. Notwithstanding any other provision of this Order,
                    Seller shall be liable for all costs incurred by Buyer to remove and replace the
                    suspect/counterfeit parts, including without limitation all costs incurred by Buyer
                    relating to the removal of such suspect/counterfeit parts, the reinsertion of
                    replacement parts and any testing necessitated by the re-installation of Seller's
                    Products after suspect/counterfeit parts have been exchanged. The parties
                    agree that Seller will pay Buyer's actual costs and Buyer's labor at Buyer's fully­
                    burdened hourly rates (as appropriate) utilizing the then-current Government­
                    approved rate set authorized for change-order activity. All such costs shall be
                    deemed direct damages.

        E.          Buyer may, at its discretion:

             (i )      Remove and or retain or both all Articles supplied by Seller that are
                       suspected of being or containing suspect/counterfeit parts pending
                       reporting to the appropriate law enforcement authorities and final
                       disposition of the Articles by them. Seller shall be liable for all costs
                       relating to Buyer's removal and retention of the suspect/counterfeit parts.

             (ii)      Turn over to the appropriate authorities (e.g., without limitation, the
                       Defense Criminal Investigative Service, Naval Criminal Investigative
                       Service, Federal Bureau of Investigation, Offices of the Inspector General,
                       etc.) any Articles suspected of being or containing
                       suspect/counterfeit parts and reserves the right to withhold payment for
                       the Articles pending the results of any investigation or proceedings related
                       to the matter.

        F.          Seller's warranty against suspect/counterfeit parts shall survive any termination
                    or expiration of this Order.

        G.          Seller shall insert a clause containing all of the terms of this provision in all
                    subcontracts under th is Order.

27.    Conflict Minerals
On 8/22/2012, the Securities and Exchange Commission (SEC) adopted final rules requiring public
companies to provide specialized disclosure relating to their use of conflict minerals (CMs) from the
Democratic Republic of the Congo (the DRC) and adjoining countries.

While Pacific Ship Repair & Fabrication, Inc. is not a publicly traded company, we are in the supply chain
of other companies who are, and support their efforts to comply with the CM rules.

The SEC's final rules can be found at http://www.sec.gov/rules/final/2012/34-67716.pdf

REPRESENTATIONS AND CERTIFICATIONS - CONFLICT MINERALS.
        A.          As of the time of award of this Order, Seller represents that:

             (i) The Product(s) Seller will be supplying under this Order do not contain any conflict
             minerals, which are defined as (a) gold or (b) tantalum, tin, or tungsten (derivatives of
             columbite-tantalite (coltan), cassiterite, and wolframite); or



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           (ii) If the Product(s) contain conflict minerals, Seller has submitted Buyer's Form, "Conflict
           Minerals Disclosure" (PACSHIP Form 45-025) which is incorporated herein by reference.

       B.      If PACSHIP Form 45-025 was submitted to Buyer as described in subparagraph A (ii)
       above, Seller certifies that the representations and certifications on such form are current,
       accurate and complete as of date of this Order.

        C.       If the status of any Product(s) changes during performance of this Order so that the
        representations and certifications contained in subparagraphs A and B of this clause are no
        longer accurate, then Seller must complete and submit to Buyer a revised PACSHIP Form 45-025,
        which may be obtained from Buyer.

       D.      If Buyer determines that any representation or certification made by Seller pursuant to
       this provision is inaccurate or incomplete in any respect, then Buyer may terminate this Order
       pursuant to the provision of this Order titled "Termination for Default."


28.     Removed Material, Scrap, Salvage and Excess Material
Seller shall retain all removed government material, including scrap, salvage and excess for
turnover to BUYER Government Property Department. All such material turned-in must be
properly identified by the Seller. Comply with the requirements of NAVSEA Standard Item 009-
20, FAR 45.505-8 and FAR 45.614.

Removed material, scrap, salvage and excess material must be turned in no later than three (3)
workdays after contract completion.

29.    Technical Manuals
Technical Manuals furnished to Seller shall be returned to Buyer no later than Three (3)
workdays after contract completion.

30.     Provisioning Technical Documentation (PTO)/ Integrated Logistics Support (ILS)
Seller shall comply with NAVSEA Standard Item 009-19, 009-21 and 009-82 for providing
Provisioning Technical Documentation (PTD) and Integrated Logistics Support (ILS) and
Technical Data. Reports called for in the Standard Items will be submitted by Seller to Buyer.

31.     Specification
Unless otherwise directed in the Order, Seller shall manufacture the Articles in accordance with
the current specifications, drawings, and designs for the Articles. Seller is responsible for
validating that specifications, drawings, and designs are the current revisions. If Seller
determines that any of the specifications, drawings, or designs are not the most current
revision, Seller shall notify Buyer immediately.

32.     Workmanship and Materials
Work performed and goods supplied pursuant to any Order shall be in strict accordance with
the specifications set forth or referenced in such Order, including all applicable plans and
specifications of Buyer's prime contract. Unless otherwise specifically provided in any Order, or
in Buyer's prime contract, all operational practices of Seller and all workmanship and materials
shall be in accordance with the latest rules and requirements of the American Bureau of
Shipping, United States Coast Guard and the American Institute of Electrical and Electronic

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Engineers, and with the best commercial marine practice; where buyer's prime contract shall
specify U.S. Navy specifications, Navy standards of material and workmanship shall be followed.

33.     Inspection and Test
Seller shall maintain a system of quality control including all inspections and tests necessary to
insure conformance with the plans and specifications. At all times during Seller's performance,
all material and workmanship shall be subject to inspection and test by Buyer or by its prime
contract customer; this right of inspection and test shall include rights of in-process inspection
and test and of review of Seller's inspection and test documentation and records. All goods,
work, materials and services furnished hereunder shall be subject to final inspection after
completion or delivery notwithstanding prior payment. Any inspection by Buyer or Buyer's
customer, whether in-process or final, and any failure to inspect by Buyer or Buyer's customer
shall not be deemed to constitute acceptance and shall not relieve Seller of its obligations
hereunder, including, but not limited to those set forth at Clause 32 Workmanship and
Materials, above. In addition to its obligations under Clause 10 Warranty, hereof, Seller shall,
prior to acceptance, promptly correct or replace any defective work or materials to the
satisfaction of Buyer and Buyer's prime contract customer. If Seller fails promptly to proceed
with such correction or replacement, Buyer may, in addition any other rights provided
hereunder or by applicable law, by contract or otherwise, proceed with such correction or
replacement and charge to Seller the cost thereof.

34.    Environmental
       (a) Hazardous Material Identification and Material Safety Data: Seller agrees to
              identify hazardous material as defined by FAR Clause 52.223-3 subparagraphs
              (a), (b), and (c), to submit a Material Safety Data Sheet as provided by
              subparagraph (d) of that clause, and otherwise agrees to comply with the
              provisions of that clause as though Seller were in the position of "offeror" and
              "contractor" and Buyer were in the position of "contracting officer" as those
              terms are used in that clause.

       (b)   Seller shall comply with all federal, state and local laws and regulations regarding
               the use of any "hazardous substances" (both terms as defined by both federal
               and state law) generated in the performance of this Order. Seller shall inform
               Buyer in writing of all hazardous waste expected to be so generated. Seller shall
               be solely responsible for the consequences of its failure to perform the foregoing
               obligations and shall defend and indemnify Buyer for all claims and liability,
               including penalties, resulting from Buyer's failure to so perform, negligent or
               otherwise.

35.     Hazardous Waste
The Seller shall comply with the Resource Conservation and Recovery Act (RCRA} and all other
applicable Federal, State and local laws, codes, ordinances and regulations for the management
and disposal of hazardous waste. Seller is directed to the California Code of Regulations, Title
22, Division 4.5; Environmental Health Standards for Management of Hazardous Waste, for the
definitions of "generator" and "hazardous waste".

The Seller agrees to be responsible for the proper management and disposal of all Seller
generated hazardous waste and shall use an EPA identification generator number issued to the
Seller for the disposal of the hazardous waste.
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36.     Hazardous Material Identification
Without regard to whether Buyer's prime contract is for the federal Government, Seller agrees
to identify hazardous material as defined by FAR Clause 52.223-3 subparagraphs (a), (b) and (c),
to submit a Material Safety Data Sheet as provided by subparagraph (d) of that clause, and
otherwise agrees to comply with the provisions of that clause as though Seller were in the
position of "offeror" and "contractor" and Buyer were in the position of "contracting officer" as
those terms are used in that clause.

37.      Toxic Substances/Hazardous Materials
Buyer will not accept, store or dispose of any toxic substances or hazardous material except as
and to the extent, if at all, expressly provided for in this Order. In particular, paints, primers, or
coatings on products required by this Order that contain the following constituents shall not be
shipped without prior written approval by Buyer: arsenic, mercury, methylene chloride, methyl
ethyl ketone (MEK), lead, and chromium, their compounds, or organo-metallic material.
Materials known or suspected of containing or coming in contact with asbestos,
polychlorinated biphenyls (PCBs), or mercury or mercury containing compounds shall not be
provided without Buyer's prior written permission. If invoked specifications and standards
permit other materials in lieu of these materials, they shall be used.

38.     Subcontracts
Seller shall not, without prior written consent of Buyer, subcontract for all or any portion of the
Order. Consent will not be unreasonably withheld.

In accordance with DFARS 252.244-7001 (c)(24), as modified by Buyer: Establish and maintain
procedures to timely notify the Buyer , in writing, if-

Seller changes the amount of lower-tier subcontractor effort after award such that it exceeds
70 percent of the total cost of the work to be performed under its subcontract. The notification
shall identify the revised cost of the subcontract effort and shall include verification that the
subcontractor will provide added value as related to the work to be performed by the lower­
tier subcontractor(s).

39.    Other Contracts
Other subcontracts may be awarded by Buyer for portions of the work required under Buyer's
prime contract. Seller shall cooperate with all other subcontractors, accept direction from
Buyer with respect to performance, schedule or reschedule its work as necessary to coordinate
with the work of Buyer and other subcontractors, attend meetings as requested by Buyer, and
be responsible for its personnel working harmoniously with Buyer personnel and other
subcontractors and with personnel of Buyer's customers, all at no additional cost to Buyer.

40.      Independent Contractor
It is understood and agreed that Seller shall be deemed an independent contractor in all its
operations and activities under any Order, and that the employees furnished by Seller to
perform work under any such Order shall be deemed to be Seller's employees exclusively
without any relation whatever to Buyer as employees or independent contractors; said
employees shall be paid by Seller for all services and Seller shall be responsible for obligations
and reports covering social security, unemployment insurance, worker's compensation, and
other reports and obligations required of employers by state and federal law.
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41.     Changes
Buyer or its prime contract customer may at any time, by written order, make changes within
the general scope of any Order. Upon receipt of such a written change order, Seller shall
proceed without delay with performance of the Order as changed. If any such change causes
an increase or decrease in Seller's cost of, or in the time required for the performance of the
Order, an equitable adjustment shall be made in the price or the time for completion, or both,
and shall be modified in writing accordingly; Seller's proposal for equitable adjustment shall be
submitted to Buyer, in writing, within (3) days of Seller's receipt of a written change order.

If any change shall have resulted or derived in any way from an act or omission or formal or
constructive order by Buyer's prime contract customer, Seller's right to equitable adjustment
shall be contingent on, and the amount thereof shall be determined in accordance with the
following:

       a. Seller shall have provided to Buyer written notice of the facts giving rise to such
          change and shall have done so in time and in form sufficient to enable Buyer to
          provide to Buyer's customer notice sufficient to protect Buyer's right to equitable
          adjustment under Buyer's prime contract.
       b. Buyer shall be liable to Seller only to the extent that Buyer's prime contract
          customer accepts liability or is adjudicated to be liable therefore;
       c. The amount of Seller's equitable adjustment, if any, shall not exceed that allowed or
          awarded to Buyer from its prime contract customer, less any profit or costs, or both,
          to which Buyer is entitled.

42.       Force Majeure
Neither party shall be liable to the other for delays resulting from causes beyond its control
and without its fault or negligence, including but not restricted to acts of God or of the public
enemy, acts of the Government in either its sovereign or contractual capacity, inability of the
Government to pay prime contractor timely, fires, floods, epidemics, quarantine restrictions,
strikes, freight embargoes, or unusually severe weather. Seller shall not be liable for delays of
subcontractors or suppliers of Seller only when arising from causes beyond the control and
without the fault or negligence of both Seller and such subcontractors or suppliers and only
when Seller could not have obtained the supplies or services from other sources in sufficient
time to permit Seller to meet the required delivery schedule. Upon the happening of any
circumstances or causes aforesaid, the affected party shall notify the other party as soon as
possible in writing. Any relief shall be limited to an extension of delivery dates or times of
performance to the extent caused thereby.

43.     Stop Work
The provisions of the Clause contained in STOP-WORK ORDER FAR 52.242-15 are hereby
incorporated by reference with the following change: The words "Contracting Officer" and
"Government" shall mean Buyer; the word "Contractor" shall mean Seller; the words "ninety
{90) days" are hereby changed to "one hundred (100) days"; and the words "thirty (30) days"
are hereby changed to "twenty {20) days" wherever they appear; and the reference to the
'Termination for Convenience" shall be deemed to refer to the Clause entitled herein
"Termination for Convenience . In subdivision (2) of Paragraph (Bl, the expression -asserts a
claim for the adjustment within twenty {20) days after the end of the period of work stoppage"


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shall be understood to mean "shall, within twenty (20) days after the end of the work stoppage,
state its intention to make a claim for adjustment".

44.      Termination for Convenience
The provisions of the Clause contained in TERMINATION FOR CONVENIENCE OF THE
GOVERNMENT (FIXED PRICE) FAR 52.249-2 are hereby incorporated by reference with the
following changes: The words "Contracting Officer" shall mean Buyer; the word "Contractor"
shall mean Seller; the word "Government" shall mean Buyer except in Paragraphs (b)(4), (b)(6),
(b)(8); and the words "1 year" are changed to "eleven (11) months" in Paragraph (e).

45.     Termination for Default
Buyer may, at any time by written notice of default to the Seller, terminate the whole or any
part of the work and/or order, without liability to Buyer, for any of the following events.

      (a)    The Seller fails to make adequate work progress to meet the required production
             schedule and schedule milestones, to endanger performance of the job order in
             accordance with its terms;

      (b)    The Seller fails to meet the productions schedule;

      (c)    The Seller fails to complete the work;

      (d)    The Seller fails to furnish the material required by;

      (e)    The Seller breaches any terms or conditions of this agreement including but not
             limited to warranties and guarantees;

      (f}    The Seller's insolvency: filing a voluntary or involuntary petition in bankruptcy,
             provide it is not vacated within 30 days from date of filing, appointment of a
             receiver or trustee for Seller's business, provided such appointment is not vacated
             within 30 days from date of such appointment, execution by the Seller of an
             assignment for the benefit of creditors; and

      (g)    If any Federal, State or Local authorities having jurisdiction shall direct BUYER to
             undertake or refrain from undertaking work, or certain types of work, and as a
             result thereof the merchandise or services ordered herewith shall become
             unnecessary.

For ship availabilities with durations of greater than 60 days, Buyer's right to terminate the
Order under Subparagraphs (a) through (g) above may be exercised if the Seller does not cure
such failure within seven (7) calendar days after receipt of "Cure Notice" from Buyer specifying
the failure. For ship availabilities with durations of less than 61 days, Buyer's right to terminate
the Order may be exercised if the Seller does not cure such failure within three (3) days after
receipt of "Cure Notice" from Buyer specifying the failure.

If Buyer terminates the Order in whole or in part by reason of Seller's default, Buyer may
acquire (re-procure) under the terms and conditions and in the manner Buyer considers
reasonable and appropriate such similar Supplies or Services as those terminated. The Seller

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                                                                                           Ex B 020
shall be liable to Buyer for any excess costs for Supplies or Services so acquired, it being
understood that the Seller shall continue to work on that portion of the work not terminated.
With regard to the Seller's liability for excess costs:

        (A)      Except for defaults by Seller's subcontractors at any tier, the Seller shall not be
        liable for any excess costs if the failure to perform under the Order arises from causes
        beyond the control and without the fault or negligence of the Seller. Examples of such
        causes include acts or omissions on the part of Buyer; acts of God; civil strife; labor
        strikes; actions of the Government or any sovereign government in its sovereign or
        contractual capacity; fires; floods; epidemics; quarantine restrictions; freight
        embargoes.
        (B)      If the delay or failure is caused by the delay or failure of a subcontractor of the
        Seller, and if such delay or failure arises out of causes beyond the reasonable control of
        both the Seller and the subcontractor, and without the fault or negligence of either of
        them, the Seller shall not be liable to Buyer for excess costs, unless the subcontracted
        Supplies or Services to be furnished by the subcontractor were reasonably obtainable
        from other sources in sufficient time to permit the Seller to meet the required Delivery
        schedule.

If the Order is terminated for default, Buyer may require the Seller to transfer title and deliver
to Buyer or to the Government, any (i) completed Supplies and (ii) partially completed Supplies
and materials, parts, tools, dies, jigs, fixtures, plans, drawings, information and contract rights
(collectively referred to as "manufacturing materials" in this Clause), that the Seller has
specifically produced or acquired for the terminated portion of the Order Seller shall also
protect and preserve property in its possession in which Buyer has an interest.

The parties shall agree on the amount of payment for manufacturing material and services
delivered and accepted, and for the production and preservation of the property. Failure to
agree shall be deemed a dispute under the "Disputes" Clause of the Order. The Seller may not
withhold Supplies, or partially completed Supplies, materials, parts, tools, dies, jigs, fixtures,
etc. pending a resolution of any such dispute.
 If, after termination for a Seller's default, it is determined that the Seller was not in default, or
that the default was excusable, the rights and obligations of the parties shall be the same as if
the termination had been for the convenience of Buyer under the Clause of the Order entitled
"Termination for Convenience."

It is expressly understood these remedies available to Buyer may be cumulative and additional
to any others provided by this agreement, the purchase order, or further remedies provided in
law or equity. At the time of any such termination, as provided for above, the Seller shall
discontinue all work, place no additional orders, and cancel existing orders, on the best possible
terms. Pending instructions, the Seller shall preserve and protect existing material, work in
process, and completed work. The Seller's termination payment, if any, shall be based on that
proportion of work satisfactorily completed at the time of termination. Buyer may offset
against any sums due or to become due the Seller all costs incurred pursing any of the remedies
provided herein, including but not limited to, reasonable overhead, profit, and attorney's fees.
The seller hereby agrees to indemnify Buyer for all damages and costs incurred by Buyer related
to the subcontractor's failure to make adequate progress to meet the scheduled completion


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date, including but not limited to liquidated damages assessed to Buyer by Buyers customer,
and cost of completing the work thereof.

46.    Disputes
       (a)     This Order and the performance of the parties hereunder shall be controlled and
       governed by the Law of Federal Government contracts and, where the Federal
       Government contracts law is not applicable, the law of the State of California. The
       parties shall attempt, in good faith, to settle all disputes arising under this Order. Any
       dispute which the parties cannot reach an amicable settlement will be resolved as
       described in paragraphs (b), (c) and (d) below. Pending final resolution of any dispute
       under this Order, Seller shall proceed diligently with the performance of this Order.

      (b)     In the event (1) Seller's claim, or any portion thereof, against Buyer is the proper
      subject for a claim by Buyer against a higher-tiered contract contractor, including the
      Government, under the terms of the Buyer's Contract with a higher-tiered contractor
      ("Buyer's Contract"), or (2) Buyer's claim against Seller, or any portion thereof, is based
      upon a corresponding claim against Buyer by a higher-tiered contractor, including the
      Government under Buyer's contract, then the dispute shall be litigated only pursuant to
      the Disputes clause of Buyer's Contract. Seller will cooperate fully with Buyer in drafting
      and documenting any claims to be presented to the higher-tiered contractor or in
      responding to any claim by a higher-tiered contractor. Seller agrees to certify that its
      claim or defense is made in good faith, all supporting data for its claim or defense are
      accurate, current, and complete, and the amount of the claim accurately reflects the
      amount for which the Seller believes it is entitled.

      Seller and Buyer agree that the claim of a higher-tiered contractor or the decision of the
      higher-tiered contractor on a claim presented by Buyer is final and binding on the
      parties unless the higher-tiered contractor's action is appealed pursuant to Buyer's
      Contract. Buyer shall notify Seller of the higher-tiered contractor's action within 10 days
      after Buyer's receipt thereof. Within 10 days of such notice, Seller shall advise Buyer in
      writing whether Seller desires to appeal the action. If Seller desires the action appealed,
      Seller's notice to Buyer shall set forth in detail its reasons and shall specifically request
      Buyer to appeal such decision. Buyer shall have absolute discretion whether to appeal
      such decision.

      If Buyer agrees to appeal a decision, Seller agrees to indemnify and hold harmless Buyer
      for the cost of said appeal and applicable attorney's fees incurred in prosecuting any
      such appeal initiated by Buyer at Seller's request. Seller may participate in any such
      appeal at its own expense. Buyer may require the Seller to prosecute the appeal in
      Buyer's name and at the prosecution of appeals, (if such authorization is provided, Seller
      shall have full responsibility for such proceedings and shall bear all expenses, including
      attorney's fees in connection therewith, provided however, that such authorization shall
      not constitute Seller the agent or attorney for Buyer.) The outcome of the appeal shall
      be final and binding on the parties. Buyer agrees that it will take no action to settle or
      prejudice Seller's claim without Seller's consent. Seller's right to interest is limited to its
      apportioned share of interest recovered pursuant to the appeal.



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        (c)     For all other disputes, the parties agree to enter into binding Arbitration. The
        American Arbitration Association Commercial Arbitration Rules (most current) are to
        govern the Arbitration. The Arbitration shall take place in the City of San Diego, State of
        California. The Arbitrator shall be bound by the applicable Subcontract provisions and
        California law in adjudicating the dispute. It is agreed by both parties that the
        Arbitrator' decision is final, and that no party may take any action, judicial or
        administrative, to overturn this decision. The judgment rendered by the Arbitrator may
        be entered in any court having jurisdiction thereof.


47.     Certification of Claims and Demands
In the case of any Order entered into under a prime contract with the United States, the
following will further apply to any claim, demand or request for equitable adjustment asserted
by Seller in addition to any other requirements set forth herein:

Seller shall certify any such claim, demand or request in accordance with the provisions of the
Contract Disputes Act of 1978, 41 U.S.C. 3601, et. seq.;

Seller shall indemnify and hold Buyer harmless against any claim, demand, or legal action
against Buyer under the provisions of 41 U.S.C. 3604 asserted in connection with or as a result
of Buyer's submittal to the United States of any such claim, demand, or request of Seller.

48.    Cost or Pricing Data Indemnity
If Seller submitted cost or pricing data (as defined in FAR subpart 15.4 Contract Pricing) as part
of the process leading up to the award of this Order or if Seller submits such data in connection
with the pricing of any change order or other modification of this Order, Seller acknowledges
that it is aware of Buyer's potential liability to the Government in the event that any of Seller's
data were not current, complete, or accurate. Seller warrants that all cost or pricing data
submitted by it (including data obtained from Seller's subcontractors, if any) in connection with
Order shall be complete, accurate, and current as of the time of agreement between Buyer and
Seller to the price of this Order. Seller shall indemnify and save harmless Buyer from any and
all loss or expenses caused by any breach of the foregoing warranty, including but not limited to
any and all costs and fees incurred by Buyer in defending against claims alleging deficiencies in
Seller's cost or pricing data, regardless whether such claims may ultimately be held lacking in
merit.

49.     Release of Information
Seller shall not advertise, publish, or otherwise release any information relating to the Order,
including the fact that Buyer has issued the Order, without Buyer's prior written permission.

50.    Anti-Kickback Act, Business Conduct and Ethics, Debarment and Suspension
       (a )   Anti-Kickback Covenant. Seller is hereby on notice that this Order is subject to
              the terms of the Anti-Kickback Act of 1986 (41 U.S.C. 351-58) and implementing
              regulations and prime contract clauses. Seller agrees that Seller shall be strictly
              prohibited from providing or attempting to provide or offering to provide any
              money, fee, commission, credit, gift, gratuity, thing of value, or compensation of
              any kind directly or indirectly to Buyer, to any Buyer employee, or to any other
              subcontractor of Buyer or any employee of any such subcontractor for the
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             purpose of improperly obtaining this or any other contract or Order from Buyer
             or for rewarding favorable treatment in connection with this or any other
             contract or Order between Buyer and Seller. Seller also agrees that it shall
             promptly report to Buyer's Ethics Hotline (619) 232-3200 Ext.119 any solicitation
             or request for a kickback as defined in the previous sentence. Seller's breach of
             the forgoing prohibition or of the foregoing obligation to report shall be
             considered a material breach of this contract and of any and all contracts
             between Buyer and Seller.

      (b)    Gifts and Gratuities to Buyer's Personnel. The Seller is hereby on notice that it is
              Buyer's policy that Buyer's personnel owe complete loyalty to Buyer and are
             forbidden to accept money or things of value from any supplier of goods or
             service to Buyer, regardless whether such acceptance would constitute an act
             prohibited by the Anti-Kickback Covenant of this Order. Seller for itself and its
             principal owners, stockholders, and officers, warrants and covenants that no
             employee of Buyer has any financial interest in Seller (except such as has been
             disclosed in writing to Buyer's Director of Contracts), and that Seller has not and
             will not directly or indirectly give anything of value to any employee of Buyer.
             The only exception to the foregoing prohibition against gifts or gratuities to
             Buyer's personnel shall be promotional or commemorative items having a value
             of less than $25.00, and food and refreshments during business meetings.
             Breach of the foregoing warranty and covenant shall entitle Buyer, in addition to
             any other rights and remedies, immediately to terminate for default any and all
             Orders to Seller outstanding at the time that Buyer learns of any such breach,
             regardless of when such breach may have occurred.

      ( c)    Procurement Integrity Covenant. Seller is hereby on notice that this Order is
             subject to the terms of the Office of Federal Procurement Policy Act (41 U.S.C.
              3423) and implementing regulations. Seller agrees that Seller shall, during the
             conduct of any federal agency procurement, be strictly prohibited from engaging
             in any of the following activities: (i) making, directly or indirectly, any offer or
             promise of future employment or business opportunity to, or engaging, directly
             or indirectly, in any discussion of future employment or business opportunity
             with, any procurement official of such agency; (ii) offering, giving, or promising
             to offer or give, directly or indirectly, any money, gratuity, or other things of
             value to any procurement official of such agency; (iii) soliciting or obtaining,
             directly or indirectly, from any officer or employee of such agency, any
             proprietary or source-selection information regarding such procurement; (iv)
             knowingly disclosing any proprietary or source-selection information regarding
             such procurement, directly or indirectly, to any person other than a person
             authorized by the head of such agency or the contracting officer to receive such
             information; or (v) permitting any individual who was formerly a Government
             procurement official with respect to the Government contract appearing on the
             face of this Order to Knowingly participate in any manner in any negotiations
             leading to the award, modification, or extension of a contract for such
             procurement, or to knowingly participate personally and substantially on behalf
             of the Seller in performance of such contract [this last restriction, number (v ),
             only applies if this Order qualifies under 41 U.S.C. 3423(d)]. Seller also agrees

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            that it shall promptly report to Buyer's Ethics Hotline {619) 232-3200 Ext.119 any
            violations or possible violations of the above provisions.

            Seller's violation of any of the prohibitions set forth in 41 U.S.C. 3423 or failure to
            comply with the reporting requirements shall be considered a material breach of
            this contract and of any and all contracts between Buyer and Seller. Seller
            agrees to indemnify and save harmless Buyer and its successors, assigns, or
            customers from any expense, loss, damage, or liability on account of any
            violations of the foregoing prohibitions. Seller agrees at its own expense to
            defend any actions, suits, or claims in which such violations are alleged, provided
            that Seller is notified as to such actions, suits, or claims.

      (d)   Certification and Disclosure Regarding Payments to Influence Certain Federal
            Transactions0 Seller is hereby on notice that if a Government contract number
            appears on the face of this Order and if this Order exceeds $150,000 this Order is
            subject to the terms of 31 U.S.C. 31352 and implementing regulations and prime
            contract clauses. Seller agrees that Seller shall be strictly prohibited from using
            appropriated funds to pay any person for influencing or attempting to influence
            an officer or employee or any agency, a Member of Congress, an officer or
            employee of Congress, or an employee of a Member of Congress in connection
            with the award of, or the modification of, any federal contract. Seller also agrees
            that it will furnish to Buyer's Director of Contract Management a disclosure
            form, 0MB Standard Form LLL, Disclosure or Lobbying Activities, if any funds
            other than federal appropriated funds (including profit or fee received under a
            federal transaction) have been paid, or will be paid, to any person as defined in
            the previous sentence to influence such person in connection with a federal
            contract. The Seller further agrees that it shall file a disclosure form with Buyer's
            Director of Contract Management at the end of each calendar quarter in which
            there occurs any event that materially affects the accuracy of the information
            contained in any disclosure form previously filed by Seller under this clause.
            Seller's breach of the foregoing prohibition or of the foregoing obligation to file
            disclosure forms shall be considered a material breach of this contract and of any
            kind and all contracts between Buyer and Seller.

      (e)   Debarment and Suspension Covenant. Seller is hereby on notice that if this
            Order exceeds $35,000, this Order is subject to the terms of FAR Subpart 9.4.
            Seller for itself and its principals warrants and covenants that neither Seller nor
            any of its principals as the time of entering into this Order is debarred,
            suspended, or proposed for debarment by the Federal Government (except such
            as has been disclosed in writing to Buyer's general Counsel). "Principals" as used
            in this clause means officers, directors, owners, partners, and persons having
            primary management or supervisory responsibilities. Breach of the foregoing
            warranty and covenant shall entitle buyer, in addition to any other rights and
            remedies, immediately to terminate for default any and all Orders to Seller
            outstanding at the time that Buyer learns of any such breach, regardless when
            such breach may have occurred.




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51.     Limitation on Liability
EXCEPT FOR THE RIGHTS AND OBLIGATIONS SET FORTH IN THE TERMINATON, INDEMNITY AND WARRANTY
CLAUSES HEREIN, UNDER NO CIRCUMSTANCES SHALL EITHER PARTY BE LIABLE TO THE OTHER FOR: (i) PUNITIVE,
EXEMPLARY OR OTHER SPECIAL DAMAGES ARISING UNDER, OR RELATING TO, THIS CONTRACT; OR (ii) INDIRECT,
INCIDENTAL OR CONSEQUENTIAL DAMAGES (INCLUDING, WITHOUT LIMITATION, LOSS OF USE, DELAY OR TIME
RELATED DAMAGES, LOSS OF INCOME, LOST PROFITS OR LOSS OF ANTICIPATED PROFITS, LOST BUSINESS, LOSS
OF BUSINESS REPUTATION, OR LOSS OF BUSINESS OPPORTUNITIES, UNREALIZED SAVINGS, ANY AND ALL
ATTORNEYS' FEES AND COSTS) ARISING UNDER, OR RELATING TO THIS CONTRACT, REGARDLESS OF WHETHER
SUCH DAMAGES ARE BASED IN CONTRACT, TORT, OR ANY OTHER LEGAL OR EQUITABLE THEORY, AND
REGARDLESS OF WHETHER BUYER WAS ADVISED OF, KNEW OF, OR SHOULD HAVE KNOWN OF, THE POSSIBILITY
OF SUCH DAMAGES, TO BUYER'S BENEFIT, IF BUYER FURNISHES GOODS OR SERVICES TO THE SELLER, SELLER
AGREES TO AND DOES WAIVE ANY AND ALL WARRANTIES, EXPRESS OR IMPLIED, WHETHER ARISING BY
OPERATION OF LAW OR OTHERWISE, INCLUDING, BUT NOT LIMITED TO, ANY IMPLIED WARRANTIES OF
MERCHANTABILITY FOR FITNESS OR FOR A PARTICULAR PURPOSE THAT MAY FLOW TO IT FROM BUYER.


52.    NO DISCRIMINATION, EQUAL EMPLOYMENT OPPORTUNITIES FOR VETERANS AND PERSONS
WITH DISABILITIES
 Seller and Seller's subcontractors shall abide by the requirements of 41 CFR §§ 60-1.4(a), 60-
 300.S(a) and 60-741.S(a). These regulations prohibit discrimination against qualified individuals
 based on their status as protected veterans or individuals with disabilities, and prohibit
discrimination against all individuals based on their race, color, religion, sex, or national origin.
 Moreover, these regulations require that covered prime contractors and subcontractors take
 affirmative action to employ and advance in employment individuals without regard to race,
color, religion, sex, national origin, protected veteran status or disability.
Seller must abide by the requirements of the below cited Federal Regulations and include this
 language in all subcontracts:
Seller and Seller's subcontractors shall abide by the requirements of 41 CFR 60-300.S(a). This
regulation prohibits discrimination against qualified protected veterans, and requires
affirmative action by covered prime contractors and subcontractors to employ and advance
in employment qualified protected veterans as applicable.
Buyer and Seller shall abide by the requirements of 41 CFR 60-741.S(a). This regulation
prohibits discrimination against qualified individuals on the basis of disability, and requires
affirmative action by covered prime contractors and subcontractors to employ and advance
in employment qualified individuals with disabilities as applicable.
Buyer and Seller, when including this language in all subcontracts, shall ensure the two
paragraphs in the section above are included in bold font as required by the Federal
Regulations.

Seller covenants to hold Buyer and its assignees harmless from any and all costs, damages and
expenses (including reasonable attorney's fees) incurred by Buyer and its assignees arising out
of or as a result of any failure of Seller to comply with any such laws and regulations.

53.     Severability
If any provision of the Purchase Order, or part thereof, shall be invalid or unenforceable, such
provision or part shall be deemed severed, and the remainder hereof shall be given full force
and effect.

54.    Authority
Each party covenants to the other party that it is authorized to enter into the Order.

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55.     Electronic Signatures
Delivery of an executed counterpart of a signature page to the Order by email shall be effective
as delivery of a manually executed counterpart of the Order.

56.     Examination of Records
Seller agrees that the Buyer, Buyers Customer, the Contracting Officer, or other duly authorized
Government Employee shall, until the expiration of three (3) years after final payment under
the Order, have access to and the right to examine any directly pertinent books, documents,
papers, and records involving transactions pertaining to the Order.
The period of access to and right of examination of records which relate to (i) Buyer's appeals
under the "Disputes" Clause of the Prime Contract, (ii) litigation or settlement of claims arising
out of the Prime Contract or (iii) cost and expenses of the Prime Contract or the Order shall
continue until such appeals, litigation, or claims have been disposed of.

57.     Waiver
No waiver by either Buyer or the Seller, whether written or oral, expressed or implied, of any
rights under or arising from the Order shall be binding on any subsequent occasion and no
concession by either Buyer or the Seller shall be treated as a variation of the Order unless
specifically agreed in writing.

58.     Buyer Authorization

       (a)     Buyer's Procurement and Contract/Subcontract representatives have sole
       authority to make contractual commitments on behalf of Buyer, to provide contractual
       direction, and to change contractual requirements defined in this Order.

       (b)     Buyer's program management, operations, engineering, technical, safety, quality
       or other personnel may from time to time render assistance, give technical advice,
       discuss, or exchange information with Seller's personnel concerning the Work hereunder.
       Such actions shall not be deemed to be a change under the "Changes" clause above, and
       shall not be the basis for equitable adjustment. If Seller believes the foregoing creates an
       actual or constructive change, Seller shall notify the Buyer Procurement or
       Contract/Subcontract representatives and shall not accept such direction or perform
       said action unless authorized under subparagraph (a) above.

59.     Customer Communications
Buyer shall be solely responsible for all liaison and coordination with the Customer or any
higher tier contractor(s) as it affects this Order or any Work thereunder or related thereto.
Except as required by law, Seller shall not communicate with the Customer, and any higher tier
contractor(s), with respect to this Order or any Work thereunder or related thereto, without
prior approval of the Buyer's Procurement or Contract/Subcontract Representative. Seller shall
promptly notify Buyer of any communications, initiated by the Customer or any higher tier
contractor(s) that affects this Order or any Work thereunder or related thereto.




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                                                                                         Ex B 027
EXHIBIT C
AMP United
50 Sheffield Drive
Suite 104
Dover NH 03820

08/05/2022
Pacific Ship Repair & Fabrication, Inc.
1625 Rigel St
San Diego CA 92113


Dear

Enclosed please find a statement of your account as of 08/05/2022

We consider current and accurate information on your account part of the service we provide. Please call
if you have any questions regarding this statement or any of the listed invoices. We appreciate your
prompt payment. It allows us to provide better service, and obtain the highest quality materials and
subcontract services for your project.

Statements are normally printed once a month and will reflect all invoices and payments received to date. If
you have already sent payment on any of the listed invoices, please feel free to contact our office to verify
that we have received your payment.

Please let us know how we can serve you better I

Sincerely,




AMPUIKWaclawski




                                                                                                    Ex C 028
                   AMP United                                                                     STATEMENT
                   50 Sheffield Drive
  �
 ,.  3'.
 UNITED
                   Suite 104
                   Dover NH 03820
                                                                                              Statement Date: 08/05/2022

                   603-318-0022
 License:




Billed To:   Pacific Ship Repair & Fabrication, Inc.                             Project: USS Rushmore(LSD-47)(PacShip)
             1625 Rigel St                                                                S 32nd St
             San Diego CA 92113                                                           San Diego CA 92113




Invoice#                   Due Date         Descript                                      Amount       Paid/Credit         Now Due

1111-1                    09/02/2021        Progress   Billing#   1                      17,058.50                         1 7,058.50
1111-2                    09/15/2021        Progress   Billing#   2                      22,601.00                         22,601.00
1111-3                    10/07/2021        Progress   Billing#   3                      26,271.30                         26,271.30
1111-4                    1 0/27/2021       Progress   Billing#   4                       2,303.20                          2,303.20

                                                                       Totals:           68,234.00                         68,234.00




Current               1-30 Days               31-60 Days              61-90 Days           91+ Days            Retention
0.00                   0.00                   0.00                    0.00                 68,234.00           0.00

                                                                       Please Pay This Amount                         68,234.00



                                        Original Contract Amount                                                           68,234.00
             Contract                   Net Changes to Date                                                                     0.00
             Summary                    New Contract Amount                                                                68,234.00
                                        Total Invoiced to Date                                                             68,234.00
                                        Remaining Balance on Contract                                                           0.00
Terms: Alf invoices are due and payable within 30DY of receipt. A service charge of 0. 00     %
per annum will be computed on all amounts overdue on regular statement dates.
Thank you for your prompt payment.




                                                                                                                        Ex C 029
